      IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                           Plaintiff,       )
                                            )
     vs.                                    )      No. 06-03011-04-CR-S-DW
                                            )
CHRIS KEN BROWN,                            )
                                            )
                           Defendant.       )


                           REPORT AND RECOMMENDATION
                           CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. §636, and has

entered    a   plea   of    guilty   to   Counts   One   and     Twelve   of    the

Superseding Indictment filed on March 9, 2006.                 After cautioning

and examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the guilty pleas

were knowledgeable and voluntary as to each count, and that the

offenses charged are supported by a factual basis for each of the

essential elements of the offenses. I therefore recommend that the

pleas of guilty be accepted and that the Defendant be adjudged

guilty and have sentence imposed accordingly.



Date: December 21, 2006                       /s/ James C. England
                                               JAMES C. ENGLAND, CHIEF
                                            UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within ten(10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. §636(b)(1)(B).




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